Case 1:15-cv-01279-LJM-MJD Document 14 Filed 11/18/15 Page 1 of 1 PageID #: 36




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION
                                                                                Dismissal acknowledged.
                                                                                s/Larry J. McKinney, Judge
                                                                                United States District Court
ANTHONY BROWN,                                    )                             Southern District of Indiana
                                                  )                             Date: 11/18/2015
                  Plaintiff,                      )
                                                  )
                                                  ) CASE No. 1:15-cv-01279-LJM-MJD
       vs.                                        )
                                                  )    Honorable Larry J. McKinney
                                                  )
AMERICAN CORADIUS
                                                  ) Magistrate Honorable Mark J. .Dinsmore
INTERNATIONAL, LLC
                                                  )
                                                  )
                  Defendant,

              PLAINTIFF’S STIPULATION OF DISMISSAL WITH PREJUDICE

       NOW COMES the Plaintiff, ANTHONY BROWN (“Plaintiff”), by and through his

attorneys, Consumer Law Partners, LLC and in support of Plaintiff’s stipulation of dismissal, states

as follows:

       Plaintiff, pursuant to settlement and Federal Rule of Civil Procedure 41, hereby stipulates

to the dismissal of his claims against the Defendant with prejudice. Each party shall bear its own

costs and fees.


Dated: November 13, 2015                           Respectfully Submitted,


                                                   /s/ Nathan C. Volheim
                                                   Nathan C Volheim
                                                   Counsel for Plaintiff
                                                   Consumer Law Partners, LLC
                                                   435 North Michigan Avenue, Suite 1609
                                                   Chicago, Illinois 60611
                                                   Phone (267) 422-1000
                                                   Fax: (267)422-2000
